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13                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
14                                    SAN FRANCISCO DIVISION

15

16   In re: CATHODE RAY TUBE (CRT)                      Master File No. 3:07-md-05944-SC (N.D.
     ANTITRUST LITIGATION                               Cal.)
17
                                                        MDL No. 1917
18
     This Document Relates to:
19                                                      DECLARATION OF DEBRA D.
      Best Buy Co., Inc. v. Hitachi, Ltd.,              BERNSTEIN IN SUPPORT OF DIRECT
20    No. 11-cv-05513;                                  ACTION PLAINTIFFS’ RESPONSE IN
                                                        OPPOSITION TO DEFENDANTS’
21    Best Buy Co., Inc. v. Technicolor SA,             MOTION TO EXCLUDE CERTAIN
      No. 13-cv-05264;                                  TESTIMONY OF PROFESSOR KENNETH
22
                                                        ELZINGA
      CompuCom Sys., Inc. v. Hitachi, Ltd.,
23    No. 11-cv-06396;
24
      Costco Wholesale Corp. v. Hitachi, Ltd.,
25    No. 11-cv-06397;

26    Dell Inc. and Dell Products L.P., v. Hitachi,
      Ltd., No. 13-cv-02171;
27

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     DECL. OF DEBRA D. BERNSTEIN ISO DAPS’ OPP. TO                       MASTER FILE NO. 3:07-CV-05944-SC
     DEFENDANTS’ MOTION TO EXCLUDE ELZINGA TESTIMONY                                        MDL NO. 1917
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 1
      Electrograph Sys. v. Hitachi, Ltd.,
 2    No. 11-cv-01656;

 3    Electrograph Sys., Inc. v. Technicolor SA,
      No. 13-cv-05724;
 4
      Interbond Corp. of Am. v. Hitachi, Ltd.,
 5    No. 11-cv-06275;
 6
      Interbond Corp. of Am. v. Technicolor SA,
 7    No. 13-cv-05727;

 8    Office Depot, Inc. v. Hitachi Ltd.,
      No. 11-cv-06276;
 9
      Office Depot, Inc. v. Technicolor SA,
10    No. 13-cv-05726;
11
      P.C. Richard & Son Long Island Corp. v.
12    Hitachi, Ltd., No. 12-cv-02648;

13    P.C. Richard & Son Long Island Corp. v.
      Technicolor SA, No. 13-cv-05725;
14
      Sears, Roebuck and Co. and Kmart Corp. v.
15    Chunghwa Picture Tubes, Ltd.,
16    No. 11-cv-05514;

17    Tech Data Corp. v. Hitachi, Ltd., No. 13-cv-
      00157;
18
      ViewSonic Corp. v. Chunghwa Picture Tubes,
19    Ltd., No. 14-02510.
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     DECL. OF DEBRA D. BERNSTEIN ISO DAPS’ OPP. TO         MASTER FILE NO. 3:07-CV-05944-SC
     DEFENDANTS’ MOTION TO EXCLUDE ELZINGA TESTIMONY                          MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3404-1 Filed 01/16/15 Page 3 of 5



 1          I, DEBRA D. BERNSTEIN, declare as follows:

 2          1.      I am a Partner with the law firm of Alston & Bird LLP, counsel for Plaintiffs Dell Inc.

 3   and Dell Products L.P. (collectively, “Dell”) in the above-captioned action currently pending in the

 4   U.S. District Court for the Northern District of California. I submit this Declaration in support of

 5   Direct Action Plaintiffs’ Response in Opposition to Defendants’ Motion to Exclude Certain Testimony

 6   of Professor Kenneth Elzinga (hereinafter, the “Bernstein Declaration”).

 7          2.      I am a member in good standing of the State Bar of Georgia and am admitted to practice

 8   before the U.S. District Court for the Northern District of Georgia. Pursuant to the Court’s Pretrial

 9   Order No. 1 in the MDL Proceeding, I have been admitted pro hac vice in this litigation.

10          1.      Exhibit 1 is a true and correct copy of In re: TFT-LCD (Flat Panel) Antitrust

11   Litigation, Final Pretrial Scheduling Order, 07-md-1827-SI, MDL Dkt. No. 5597 (May 4, 2012).

12          2.      Exhibit 2 is a true and correct copy of In re: TFT-LCD (Flat Panel) Antitrust

13   Litigation, LG/Toshiba Motion in Limine No. 1, md-1827-SI, MDL Dkt. No. 5175.

14          3.      Exhibit 3 is a true and correct copy of Expert Report of Dr. Kenneth G. Elzinga, Robert

15   C. Taylor Professor of Economics, University of Virginia, dated April 15, 2014, which Dell has lodged

16   under seal.

17          4.      Exhibit 4 is a true and correct copy of Expert Rebuttal Report of Dr. Kenneth G.

18   Elzinga, September 26, 2014, which Dell has lodged under seal.

19          5.      Exhibit 5 is a true and correct copy of excerpts from In re: TFT-LCD (Flat Panel)

20   Antitrust Litigation, Trial Transcript from Toshiba Trial (June 12-14, 2012).

21          6.      Exhibit 6 is a true and correct copy of excerpts from Dennis W. Carlton and Jeffrey M.

22   Perloff, Modern Industrial Organization, Fourth Edition, (2005).

23          7.      Exhibit 7 is a true and correct copy of David Genesove, and Wallace P. Mullin, “Rules,

24   Communication, and Collusion:       Narrative Evidence from the Sugar Institute Case,” American

25   Economic Review, Vol. 91 No. 3. (2001).

26          8.      Exhibit 8 is a true and correct copy of Jeffrey M. Perloff, “Cartels,” Journal of

27   Industrial Organization Education: 1(1), Article 6 (2006).

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     DECL. OF DEBRA D. BERNSTEIN ISO DAPS’ OPP. TO                         MASTER FILE NO. 3:07-CV-05944-SC
     DEFENDANTS’ MOTION TO EXCLUDE ELZINGA TESTIMONY                                          MDL NO. 1917
            Case 4:07-cv-05944-JST Document 3404-1 Filed 01/16/15 Page 4 of 5



 1          9.      Exhibit 9 is a true and correct copy of excerpts from Lynne Pepall and Daniel Jay

 2   Richards, Industrial Organization: Contemporary Theory and Empirical Applications. 4th ed. Malden,

 3   MA, (2008).

 4          10.     Exhibit 10 is a true and correct copy of excerpts from Waldman, Don E., and Elizabeth

 5   Jane Jensen. Industrial Organization: Theory and Practice. 2nd ed. Boston: Addison Wesley

 6   Longman, (2001).

 7          11.     Exhibit 11 is a true and correct copy of excerpts from, Phillip E. Areeda and Herbert

 8   Hovenkamp, Antitrust Law, Volume 2, 3rd ed., Aspen Publishers, (2001).

 9          12.     Exhibit 12 is a true and correct copy of excerpts from In re: Urethane Antitrust

10   Litigation, Trial Transcript (February 13, 2013).

11          13.     Exhibit 13 is a true and correct copy of excerpts from Transcript of the July 17, 2014

12   deposition, of Kenneth G. Elzinga, Ph. D, which Dell has lodged under seal.

13          14.     Exhibit 14 is a true and correct copy of excerpts from Transcript of the Change of Plea

14   Hearing, United States v. Samsung SDI Co., Ltd., No. 3:11-CR-00162-WHA, Dkt. No. 35 (N.D. Cal.

15   May 24, 2011).

16          15.     Exhibit 15 is a true and correct copy of Amended Plea Agreement, United States v.

17   Samsung SDI Co., Ltd., No. 3:11-CR-00162-WHA, Dkt. No. 40-1 (N.D. Cal. Aug. 8, 2011).

18          16.     Exhibit 16 is a true and correct copy of CRT MDL Dkt. No. 3395, Defendants

19   Chunghwa Picture Tubes, Ltd. Notice of Limitation of Damages Pursuant to ACPERA.

20          17.     Exhibit 17 is a true and correct copy of excerpts from Scherer, F. M., and David

21   Ross. Industrial Market Structure and Economic Performance, 3rd ed. Boston: Houghton Mifflin,

22   1990

23          I declare under penalty of perjury under the laws of the United States of America that the

24   foregoing is true and correct.

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     DECL. OF DEBRA D. BERNSTEIN ISO DAPS’ OPP. TO                       MASTER FILE NO. 3:07-CV-05944-SC
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           Case 4:07-cv-05944-JST Document 3404-1 Filed 01/16/15 Page 5 of 5



 1         Executed on January 16, 2015, in Atlanta, Georgia.

 2
                                        /s/ Debra D. Bernstein
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     DECL. OF DEBRA D. BERNSTEIN ISO DAPS’ OPP. TO                      MASTER FILE NO. 3:07-CV-05944-SC
     DEFENDANTS’ MOTION TO EXCLUDE ELZINGA TESTIMONY                                       MDL NO. 1917
